    23-07016-shl       Doc 1       Filed 04/13/23 Entered 04/13/23 09:58:52                     Main Document
                                                 Pg 1 of 36


R3M LAW, LLP
335 Madison Avenue, 9th Floor
New York, NY 10017
646.453.7851
Howard P. Magaliff

Attorneys for Howard P. Magaliff,
Chapter 7 Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re:                                                         :          Chapter 7
                                                               :
232 SEIGEL DEVELOPMENT LLC, et al.,                            :          Case No. 20-22844 (SHL)
                                                               :
                                              1
                                    Debtors.                   :          Jointly Administered
---------------------------------------------------------------x
HOWARD P. MAGALIFF, as Trustee of                              :
232 Seigel Development LLC and 232 Seigel                      :
Acquisition LLC,                                               :          Adv. Pro. No. 23-_______
                                                               :
                                    Plaintiff,                 :
                                                               :
                  – against –                                  :
                                                               :
NORTHSIDE ACQUISITION PARTNERS LLC, :
215 MOORE ST ACQUISITION LLC, ER 215                           :
MOORE LLC, DOE ACCOUNT HOLDER 7255, :
and “DOE 1” through “DOE 10”,                                  :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------x


            COMPLAINT TO AVOID AND RECOVER PREFERENCES,
       FRAUDULENT TRANSFERS AND DAMAGES FOR UNJUST ENRICHMENT

                   Howard P. Magaliff, the chapter 7 trustee of the jointly administered estates of

232 Seigel Development LLC (“Development”) and 232 Seigel Acquisition LLC (“Acquisition”

and together with Development, the “Debtors”), as plaintiff (the “Trustee” or “Plaintiff”), as and




1
      The Debtors in these chapter 7 cases and the last four digits of each Debtor’s taxpayer identification number are
      as follows: 232 Seigel Development LLC (0108) and 232 Seigel Acquisition LLC (9782).
    23-07016-shl            Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52                    Main Document
                                                  Pg 2 of 36



for his complaint against the above-named defendants, alleges the following upon knowledge as

to his own acts and otherwise upon information and belief:

                                                INTRODUCTION

                       1.      Plaintiff brings this action pursuant to Rule 7001(1) of the Federal Rules

of Bankruptcy Procedure (“Bankruptcy Rules”) and sections 544(b)(1), 547(b), 548(a)(1)(B),

and 550(a) of title 11, United States Code (the “Bankruptcy Code”) to avoid and recover from

the defendants preferences and/or constructive fraudulent transfers made by the Debtors within

six years prior to the Filing Date, 2 and damages for unjust enrichment.

                                                  THE PARTIES

                       2.      On June 14, 2020 (the “Petition Date”), the Debtors filed voluntary peti-

tions for relief under chapter 11 of the Bankruptcy Code. Development initially filed under sub-

chapter 5 of chapter 11, and subsequently amended its petition to remove the subchapter 5 elec-

tion.

                       3.      By Order dated October 15, 2021 [doc. 160] (the “Conversion Order”), the

Court converted the Debtors’ chapter 11 cases to cases under chapter 7 of the Bankruptcy Code.

Howard P. Magaliff was appointed as the chapter 7 interim trustee of the Debtors and is the trus-

tee pursuant to section 702(d) of the Bankruptcy Code.

                       4.      Northside Acquisition Partners LLC (“Northside”) is a limited liability

company whose members include, upon information and belief, Toby Moskovits (“Moskovits”),

Yechiel Michael Lichtenstein (“Lichtenstein”) and Moshe Dov Schweid (“Schweid”).




2
      Article 10 of the New York Debtor and Creditor Law was repealed and replaced by the New York Uniform
      Voidable Transaction Act effective April 4, 2020. Article 10 governs all transactions that occurred prior to
      April 4, 2020.
                                                           2
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52           Main Document
                                                   Pg 3 of 36



                       5.       215 Moore St Acquisition LLC (“215 Acquisition”) is a limited liability

company whose members include Moskovits and, upon information and belief, may include

Lichtenstein and Schweid.

                       6.       ER 215 Moore LLC (“ER 215 Moore”) is a limited liability company

whose members include Moskovits and, upon information and belief, may include Lichtenstein

and Schweid.

                       7.       Doe Account Holder 7255, the owner of a checking account ending in

7255, received funds transferred by Development. The identity of Doe Account Holder 7255 is

unknown at this time, and the Trustee reserves the right to amend this complaint to identify this

defendant.

                       8.       “Doe 1” through “Doe 10” are unknown initial or mediate transferees of

the Debtors. The Trustee reserves the right to amend this complaint to identify these defendants.

                                         JURISDICTION AND VENUE

                       9.       This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334.

                       10.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                       11.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). If any of the

claims asserted in this adversary proceeding are determined to be non-core, Plaintiff consents to

the entry of final judgment by the Bankruptcy Court.

                                          GENERAL ALLEGATIONS

A.        Background

                       12.      As of the Petition Date, the Debtors’ primary asset was the real property

known as Block 3100, Lot 34, or 232 Seigel Street, Brooklyn, NY (the “Property”). Acquisition

was the owner of the Property. Development owns 100% of the member interests in Acquisition.

According to the Debtors’ chapter 11 joint disclosure statement, the Property is an assemblage of

                                                         3
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52        Main Document
                                                   Pg 4 of 36



properties with approved plans to develop a full-service hotel with 150 rooms with amenities,

community space, parking and other features.

                       13.      On or about November 18, 2016, 215 Acquisition, with a 97% interest,

and S&B Moore LLC (“S&B Moore”), with a 3% interest, as tenants in common, and Acquisi-

tion entered into a deed, whereby for $1.00 consideration, 215 Acquisition and S&B Moore

transferred the Property to Acquisition. The real property transfer report filed with state of New

York was signed for both buyer and seller by Moskovits as authorized person.

                       14.      Simultaneously, ER 215 Moore, as mortgagor made two mortgage loans to

Acquisition, a senior loan for $4.7 million (“Senior Loan”) and a building loan for $3.1 million

(“Building Loan”). These mortgages were short term mortgages and were repayable on February

11, 2019. As additional security for the mortgages, Acquisition granted to the mortgagor a secu-

rity interest in the land, improvements, easements, machinery, leases and other personal proper-

ty. In connection with the $4.7 million Senior Loan, Acquisition provided a maximum security

interest of up to $26,192,985.81, and as part of $3.1 million Building Loan, Acquisition granted

a security interest of $3.1 million. Both of the loan agreements were signed by Moskovits as

manager of Development, the sole member of Acquisition.

                       15.      Prior to November 11, 2016, 215 Acquisition and S&B Moore were also

the fee owners of land and buildings located at Block 3100 lots 22, 26, 32, 47, 56, 61, 63, 66, 67

and 68, known by the street addresses 208-228 Siegel Street and 201-225 Moore St., in Brooklyn

(the “Adjacent Property”). On or about November 11, 2016, 215 Acquisition and S&B Moore

and Acquisition entered into a Zoning Lot Development Agreement (“ZLDA”), whereby Acqui-

sition and 215 Acquisition and S&B Moore signed a declaration to treat the Property and the Ad-

joining Property as a single zoning lot. In addition, 215 Acquisition and S&B Moore granted

and transferred to Acquisition in perpetuity 31,000 sq. ft. of development rights for utilization on

                                                        4
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52          Main Document
                                                   Pg 5 of 36



Acquisition’s Property. Prior to the transfer of these rights, Acquisition owned 18,496 sq. ft. of

land with development rights of 36,992 sq. ft. The total development rights available to Acquisi-

tion after transfer of development rights increased to 67,992 sq. ft.

                       16.      Prior to September 18, 2017, 215 Acquisition and S&B Moore also owned

Block 3100, lots 47 and 56. On September 18, 2017, Acquisition and 215 Acquisition and S&B

Moore signed a Light and Air Easement Agreement, whereby 215 Acquisition and S&B Moore

granted to Acquisition rights to unrestricted light and air and limiting the construction heights on

Block 3100 lots 47 and 56 to 35.88 feet. This agreement was signed by Moskovits on behalf of

215 Moore, by Lichtenstein on behalf of Acquisition, and by Schweid on behalf of S&B Moore.

                       17.      On or about December 03, 2018, Aaron Valuation issued an appraisal re-

port for the Property. The appraisal report valued the Property along with its improvements and

rights at $21,650,000 as of September 30, 2018, with the value of land with 68,060 sq. ft. of de-

velopment rights at $18,716,500, and owner’s cost spent to date (which has value to future own-

ers) and profits of $2,931,250.

                       18.      On or about December 18, 2018, BridgeCity Capital, LLC issued a $5.25

million mortgage loan to Acquisition and BCC MZ17 LLC issued a $3 million mezzanine mort-

gage loan to Development. The BridgeCity Capital loan was secured by a security interest in the

Property and the BCCMZ17 loan was secured by all assets of Development and a pledge of the

100% membership interest in Acquisition.

                       19.      The proceeds from these loans were to be utilized to consolidate and repay

the existing mortgage in favor of ER 215 Moore and certain amounts were withheld for future

interest payments.

                       20.      Both the BridgeCity Capital and BCCMZ17 loans were guaranteed by

Moskovits, Lichtenstein and Schweid.

                                                         5
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52           Main Document
                                                   Pg 6 of 36



                       21.      As a part of the loan agreements BridgeCity Capital retained $638,750 and

BCCMZ17 retained $365,000 as interest reserves. The loans carried a 12% interest rate with a

default rate of 24% per annum. Both loan agreements had maturity dates of January 1, 2020.

Both loan agreements also included this provision: “The Debt shall without notice become im-

mediately due and payable at the option of Lender if any payment required in this Note is not

paid on or prior to the date when due (subject to any grace period provided in the Loan Agree-

ment or herein) or if not paid on the Maturity Date or on the happening of any other Event of De-

fault.”

B.        Development Disposes of Cash While Building Expenses Are Coming Due

                       22.      Around the time Acquisition acquired the Property, All Island Masonry &

Concrete Inc. (”All Island”) began work at the Property.

                       23.      On January 6, 2017, All Island invoiced $1,041,588 then due to it for con-

struction it completed. All Island’s proof of claim (Claim No. 6-1) reflects that interest began

accruing on the outstanding balance owed to it as of January 2017.

                       24.      Meanwhile, from November 25, 2016, to January 3, 2019, Development

transferred funds to Northside (the “Northside-Development Transfers”) and Doe Account Hold-

er 7255 (the “Doe Account Holder 7255 Transfers”), all while accruing additional construction

and interest expenses owing to All Island and others. A schedule of the Northside-Development

Transfers and the Doe Account Holder 7255 Transfers are attached as Exhibit 1 and Exhibit 2,

respectively.

                       25.      Additionally, on May 18, 2017, Development transferred to 215 Acquisi-

tion $115,841.68 (the “215 Acquisition-Development Transfer”).




                                                         6
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52          Main Document
                                                   Pg 7 of 36



                       26.      Based upon review of the Debtors’ bank accounts and available infor-

mation, the Debtors did not have cash balances or other assets that could be quickly converted to

cash to cover the continuing expenses of the construction project when it made these transfers.

C.        Unexplained Transfers to ER 215 Moore Immediately
          Prior to Debtor’s Default on Mortgage and Mezzanine Loan

                       27.      On October 11, 2019, Development wired ER 215 Moore $50,000 (the

“ER 215 Moore Wire”).

                       28.      The transfer records made reference to a purchase and sale agreement.

However, upon information and belief, Development was not in privity with ER 215 Moore, and

any outstanding obligations Acquisition owed ER 215 Moore were to have been satisfied by the

proceeds of loan from BridgeCity Capital in December 2018.

                       29.      On October 16, 2019, ER 215 Moore cashed a check from Development

for $50,000 as well (collectively, with the ER 215 Moore Wire, the “ER 215 Moore Transfers”).

The check did not identify for what purpose it was given. Attached as Exhibit 3 is a schedule of

these transfers.

                       30.      Shortly thereafter, on or about October 19, 2019, BridgeCity Capital and

BCC MZ17 LLC declared defaults on both the Acquisition mortgage loan and the Development

mezzanine mortgage loan. The default notices accelerated the loan repayment dates and interest

rate to the 24% default interest rate and demanded immediate payment in full of all obligations

of the Debtors to BridgeCity Capital and BCC MZ17 LLC. As of November 30, 2019, Acquisi-

tion was obligated to repay $5,310,000 and Development was obligated to pay $3,035,000.

                       31.      In addition to the loans, both Acquisition and Development had significant

other liabilities that were outstanding, matured, due and payable but were not paid. A review of

claims filed against the Debtors reflects $15,541,476.51 of claims filed against Acquisition and


                                                         7
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52            Main Document
                                                   Pg 8 of 36



$9,656,944.42 of claims filed against Development. An overwhelming majority of these claims

were outstanding and were due and payable as of October 19, 2019.

                       32.      The claim filed by AKRF, Inc. in Development’s case for $10,013.59 ap-

pears to have been outstanding since June 2017. A complaint was filed against Development

during the year 2019 and a default judgment entered on January 21, 2020.

                       33.      The Debtors’ schedules reflect liabilities that have been outstanding since

2015 and 2016.

                       34.      In addition, it appears that the Debtors experienced cash flow issues for an

extended period prior to October 11, 2019. For example, Acquisition failed to make timely

payments on the quarterly Property taxes due for the tax year 2018, and 2019.

                       35.      Based upon review of the Debtors’ bank accounts and available infor-

mation, the Debtors did not have cash balances or other assets that could be quickly converted to

cash to satisfy close to $8.25 million of loans and significant other liabilities that were due and

payable as of October 19, 2019.

                       36.      The Debtors incurred debts beyond their ability to pay as they matured and

failed to make timely payments to their vendors and lenders. Both Debtors were insolvent on a

cash flow basis as of October 19, 2019.

D.        The Debtors’ Continued Financial Woes
          and Unexplained Transfers to Northside

                       37.      As of December 17, 2019, Development owed $3,069,000 to BCC MZ17

LLC which included default interest of $66,000 from October 19, 2019 through December 17,

2019, and Acquisition owed $5,369,500 to BridgeCity Capital LLC which included default inter-

est and legal fees of $119,500 from October 19, 2019 through December 17, 2019.

                       38.      On or about December 17, 2019, BridgeCity Capital LLC and BCC MZ17

LLC sold their loans to DB Seigel LLC and DB Seigel Mezz LLC, respectively for $8.25 million
                                            8
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52           Main Document
                                                   Pg 9 of 36



(net of an interest reserve of $46,750). The amount outstanding on the BridgeCity loan as of De-

cember 17, 2019 was $5,369,500 (including default interest and legal fees of $119,500). The

amount outstanding on the BCC MZ17 LLC loan was $3,069,000 (including default interest and

legal fees of $69,000). DB Seigel LLC and DB Seigel Mezz LLC were owned by or related to

Fortress Investment Group LLC.

                       39.      From December 19, 2019 until the filing of the Petition, Acquisition trans-

ferred $1,855,404.88 to Northside (the “Acquisition-Northside Transfers”). A schedule of the

Acquisition-Northside Transfers is attached as Exhibit 4.

E.        February 2020 Contract to Sell the Property and Missing Funds Due to Acquisition

                       40.      In February 2020, Acquisition entered into a purchase and sale agreement

with 232 Seigel Property LLC, owned by Abraham Leifer, to sell the Property for $18 million

(the “PSA”).

                       41.      The PSA provided that the purchaser would pay a $1,800,000 deposit to

the seller (defined in the PSA as the “Down Payment”). The PSA provides that “[u]pon delivery

to Seller, the Down Payment shall become non-refundable to Purchaser and fully earned by Sell-

er.” Upon examination of Acquisition’s records, Acquisition transferred most of the Down

Payment to Northside and 215 Acquisition.

                       42.      The PSA was amended in May 2020 to extend the closing date, which

would have occurred during the chapter 11 phase of this case.

                       43.      Under the draft amendment to the PSA, Acquisition was to receive

$100,000 in May 2020 for a 30-day extension to 232 Seigel Property LLC. Upon information

and belief, the amendment to the PSA was executed in the same form as the draft. However,

Acquisition never received the $100,000 due to it in its accounts.



                                                         9
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52             Main Document
                                                  Pg 10 of 36



E.        April 2020 Unexplained Transfers to 215 Acquisition

                       44.      Between August 22, 2018 to April 1, 2020, Acquisition made transfers to

215 Acquisition (the “215 Acquisition Transfers”). A schedule of the transfers is attached as

Exhibit 5.

F.        The Debtor’s Estate Remains Administratively
          Insolvent After the Sale of the Property

                       45.      On February 24, 2022, the Property was auctioned by the Trustee to a suc-

cessful purchaser for $10,514,327. The purchaser was also owned by Abraham Leifer. The

Court approved the sale on March 7, 2022.

                       46.      After paying the secured claims against the Property, the Debtors’ estates

remain administratively insolvent.

                                FIRST CAUSE OF ACTION
          (Avoidance of ER 215 Moore Transfers as Constructive Fraudulent Transfers
                             Pursuant to 11 U.S.C. § 548(a)(1)(B))

                       47.      Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       48.      Pursuant to 11 U.S.C. § 548(a)(1)(B), a trustee may avoid any transfer of

an interest of the debtor in property that was made on or within 2 years before the date of the fil-

ing of the petition if the debtor received less than a reasonably equivalent value in exchange for

such transfer or obligation and was (a) insolvent on the date that such transfer was made or such

obligation was incurred, or became insolvent as a result of such transfer or obligation, or (b) en-

gaged in business or a transaction, or was about to engage in business or a transaction, for which

any property remaining with the debtor was an unreasonably small capital.

                       49.      Development did not receive reasonably equivalent value in exchange for

the ER 215 Moore Transfers within the meaning of 11 U.S.C. § 548(a)(1)(B)(i).


                                                          10
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52             Main Document
                                                  Pg 11 of 36



                       50.      Development was engaged in was engaged in business, or was about to

engage in business, for which it had an unreasonably small capital after the ER 215 Moore

Transfers within the meaning of 11 U.S.C. § 548(a)(1)(B)(ii)(II).

                       51.      Pursuant to 11 U.S.C. § 548(a)(1)(B), the Trustee is entitled to judgment

avoiding the ER 215 Moore Transfers for the benefit of the creditors of the Development’s es-

tate.

                       52.      ER 215 Moore is an initial transferee of the ER 215 Moore Transfers.

                       53.      Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment di-

recting return of the ER 215 Moore Transfers from ER 215 Moore.

                                SECOND CAUSE OF ACTION
          (Avoidance of ER 215 Moore Transfers as Constructive Fraudulent Transfers
               Pursuant to 11 U.S.C. § 544(b)(1) and Former DCL §§ 273-74, 278)

                       54.      Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       55.      Pursuant to 11 U.S.C. § 544(b)(1), a trustee may avoid any transfer of an

interest of the debtor in property or any obligation incurred by the debtor that is voidable under

applicable law by a creditor holding an unsecured claim that is allowable under 11 U.S.C. § 502.

                       56.      As reflected in the Development’s Schedule E/F filed in this case [Doc.

No. 3, pp. 8-9], the Debtor has at least one unsecured creditor with a fixed, liquidated and non-

contingent claim that is allowable under 11 U.S.C. § 502.

                       57.      Pursuant to section 273 of the New York Debtor and Creditor Law effec-

tive for transactions that occurred prior to April 4, 2020 (the “Former DCL”), every conveyance

made and every obligation incurred by a person who is or will be thereby rendered insolvent is

fraudulent as to creditors without regard to his actual intent if the conveyance is made or the ob-

ligation is incurred without fair consideration.

                                                         11
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52             Main Document
                                                  Pg 12 of 36



                       58.      Pursuant to Former DCL § 274, Every conveyance made without fair con-

sideration when the person making it is engaged or is about to engage in a business or trans-

action for which the property remaining in his hands after the conveyance is an unreasonably

small capital, is fraudulent as to creditors and as to other persons who become creditors dur-

ing the continuance of such business or transaction without regard to his actual intent.

                       59.      Pursuant to Former DCL § 278, creditors may set aside a fraudulent con-

veyance to the extent necessary to satisfy their claims.

                       60.      Upon information and belief, the ER 215 Moore Transfers were without

fair consideration in return within the meaning of Former DCL § 272.

                       61.      Development was engaged in a business for which the property remaining

in its hands after the ER 215 Moore Transfers was an unreasonably small capital within the

meaning of Former DCL § 274.

                       62.      Pursuant to 11 U.S.C. § 544(b)(1), the Trustee is entitled to judgment

avoiding the ER 215 Moore Transfers for the benefit of the creditors of the Development’s es-

tate.

                       63.      ER 215 Moore is an initial transferee of the ER 215 Moore Transfers.

                       64.      Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment di-

recting return of the ER 215 Moore Transfers from ER 215 Moore.

                                   THIRD CAUSE OF ACTION
                   (Avoidance of ER 215 Moore Transfers as Preferential Transfers
                                  Pursuant to 11 U.S.C. § 547(b))

                       65.      Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       66.      Pursuant to 11 U.S.C. § 547(b), a trustee may avoid any transfer of an in-

terest of the debtor in possession in property (a) to or for the benefit of a creditor, (b) for or on

                                                          12
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52            Main Document
                                                  Pg 13 of 36



account of an antecedent debt owed by the debtor in possession before such transfer was made,

(c) made while the debtor in possession was insolvent, (d) made within one year before the date

of the filing of the petitioner, if such creditor at the time of the transfer was an insider, and

(e) that enables such creditor to receive more in satisfaction of its claims than it would receive in

a case under chapter 7 of the Bankruptcy Code if the transfer had not been made.

                       67.      During the year prior to the filing of the petition, Development made the

ER 215 Moore Transfers to ER 215 Moore.

                       68.      Upon information and belief, ER 215 Moore is an insider within the mean-

ing of 11 U.S.C. § 547(b)(4)(B).

                       69.      The ER 215 Moore Transfers were made to or for the benefit of ER 215

Moore.

                       70.      The ER 215 Moore Transfers enabled ER 215 Moore to receive more in

satisfaction of any claim it may have had against Development than it would have received in a

case under chapter 7 of the Bankruptcy Code had the payment not been made.

                       71.      To the extent the Court finds that the ER 215 Moore Transfers were made

on account of an antecedent debt owed by Development before the ER 215 Moore Transfers

were made and that ER 215 Moore was a creditor, the Trustee is entitled to an order and judg-

ment under 11 U.S.C. § 547(b) avoiding the ER 215 Moore Transfers.

                       72.      Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment di-

recting return of the ER 215 Moore Transfers from ER 215 Moore, to the extent they are avoided

pursuant to 11 U.S.C § 247(b).




                                                         13
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52             Main Document
                                                  Pg 14 of 36



                              FOURTH CAUSE OF ACTION
    (Avoidance of Acquisition-Northside Transfers as Constructive Fraudulent Transfers
                            Pursuant to 11 U.S.C. § 548(a)(1)(B))

                       73.      Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       74.      Acquisition did not receive reasonably equivalent value in exchange for

the Acquisition-Northside Transfers within the meaning of 11 U.S.C. § 548(a)(1)(B)(i).

                       75.      Acquisition was insolvent on the date of the Acquisition-Northside Trans-

fers within the meaning of 11 U.S.C. § 548(a)(1)(B)(ii)(I).

                       76.      Acquisition was engaged in was engaged in business, or was about to en-

gage in business, for which it had an unreasonably small capital after the Acquisition-Northside

Transfers within the meaning of 11 U.S.C. § 548(a)(1)(B)(ii)(II).

                       77.      Pursuant to 11 U.S.C. § 548(a)(1)(B), the Trustee is entitled to judgment

avoiding the Acquisition-Northside Transfers for the benefit of the creditors of the Acquisition’s

estate.

                       78.      Northside is an initial transferee of the Acquisition-Northside Transfers.

Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment directing return of the Ac-

quisition-Northside Transfers from Northside.

                               FIFTH CAUSE OF ACTION
   (Avoidance of Acquisition-Northside Transfers as Constructive Fraudulent Transfers
  Pursuant to 11 U.S.C. § 544(b)(1), DCL §§ 273, 276-77 and Former DCL §§ 273-74, 278)

                       79.      Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       80.      Pursuant to section 273(a)(2) of the New York Debtor and Creditor Law

(“DCL”), a transfer made by a debtor is voidable as to a creditor if the debtor made the transfer

without receiving reasonably equivalent value in exchange for the transfer or obligation and:

                                                          14
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52           Main Document
                                                  Pg 15 of 36



(i) was engaged in a business for which the remaining assets of the debtor were unreasonably

small in relation to the business; or (ii) reasonably should have believed that the debtor would

incur debts beyond the debtor’s ability to pay as they became due.

                       81.      Pursuant to DCL § 276(a)(1), a creditor may avoid a transfer to the extent

necessary to satisfy the creditor’s claim.

                       82.      Pursuant to DCL § 277(b)(1), (c), a creditor may recover judgment for the

value of the asset transferred, subject to adjustment as the equities may require.

                       83.      Upon information and belief, the Acquisition-Northside Transfers were

made without receiving a reasonably equivalent value in exchange for the transfers within the

meaning of DCL § 273(a)(2).

                       84.      Acquisition was engaged in a business for which the remaining assets of

Acquisition after the Acquisition-Northside Transfers was an unreasonably small in relation to

the business within the meaning of DCL § 273(a)(2)(i).

                       85.      Acquisition reasonably should have believed that Acquisition would incur

debts beyond its ability to pay as they became due when it transferred the Acquisition-Northside

Transfers within the meaning of DCL § 273(a)(2)(ii).

                       86.      Upon information and belief, the Acquisition-Northside Transfers were

without fair consideration in return within the meaning of Former DCL § 272.

                       87.      The Acquisition-Northside Transfers were made while Acquisition was in-

solvent within the meaning of Former DCL § 273.

                       88.      Acquisition was engaged in a business for which the property remaining in

its hands after the Acquisition-Northside was an unreasonably small capital within the meaning

of Former DCL § 274.



                                                         15
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52             Main Document
                                                  Pg 16 of 36



                       89.      Pursuant to 11 U.S.C. § 544(b)(1), the Trustee is entitled to judgment

avoiding the Acquisition-Northside Transfers for the benefit of the creditors of the Acquisition’s

estate.

                       90.      Northside is an initial transferee of the Acquisition-Northside Transfers.

                       91.      Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment di-

recting the return of the Acquisition-Northside Transfers to Acquisition.

                                 SIXTH CAUSE OF ACTION
             (Avoidance of Acquisition-Northside Transfers as Preferential Transfers
                                Pursuant to 11 U.S.C. § 547(b))

                       92.      Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       93.      During the year prior to the filing of the petition, Acquisition made the

Acquisition-Northside Transfers to Northside.

                       94.      Upon information and belief, Northside is an insider within the meaning of

11 U.S.C. § 547(b)(4)(B).

                       95.      The Acquisition-Northside Transfers were made to or for the benefit of

Northside.

                       96.      The Acquisition-Northside Transfers enabled Northside to receive more in

satisfaction of any claim it may have had against Acquisition than it would have received in a

case under chapter 7 of the Bankruptcy Code had the payment not been made.

                       97.      To the extent the Court finds that the Acquisition-Northside Transfers

were made on account of an antecedent debt owed by Acquisition before the Acquisition-

Northside Transfers were made and that Northside was a creditor, the Trustee is entitled to an

order and judgment under 11 U.S.C. § 547 (b) avoiding the Acquisition-Northside Transfers.



                                                          16
4872-5983-1900, v. 3
 23-07016-shl                Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52             Main Document
                                                  Pg 17 of 36



                       98.      Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment di-

recting return of the Acquisition-Northside Transfers from Northside, to the extent they are

avoided pursuant to 11 U.S.C § 247(b).

                              SEVENTH CAUSE OF ACTION
         (Avoidance of 215 Acquisition Transfers as Constructive Fraudulent Transfers
                             Pursuant to 11 U.S.C. § 548(a)(1)(B))

                       99.      Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       100.     Acquisition did not receive reasonably equivalent value in exchange for

the 215 Acquisition Transfers within the meaning of 11 U.S.C. § 548(a)(1)(B)(i).

                       101.     Acquisition was insolvent on the date of the 215 Acquisition Transfers

within the meaning of 11 U.S.C. § 548(a)(1)(B)(ii)(I).

                       102.     Acquisition was engaged in was engaged in business, or was about to en-

gage in business, for which it had an unreasonably small capital after the 215 Acquisition Trans-

fers within the meaning of 11 U.S.C. § 548(a)(1)(B)(ii)(II).

                       103.     Pursuant to 11 U.S.C. § 548(a)(1)(B), the Trustee is entitled to judgment

avoiding the 215 Acquisition Transfers for the benefit of the creditors of Acquisition’s estate.

                       104.     215 Acquisition is an initial transferee of the 215 Acquisition Transfers.

                       105.     Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment di-

recting return of the 215 Acquisition Transfers from 215 Acquisition.

                               EIGHTH CAUSE OF ACTION
         (Avoidance of 215 Acquisition Transfers as Constructive Fraudulent Transfers
              Pursuant to 11 U.S.C. § 544(b)(1) and Former DCL §§ 273-74, 278)

                       106.     Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.



                                                          17
4872-5983-1900, v. 3
 23-07016-shl             Doc 1    Filed 04/13/23 Entered 04/13/23 09:58:52             Main Document
                                                Pg 18 of 36



                       107.   Upon information and belief, the 215 Acquisition Transfers were without

fair consideration in return within the meaning of Former DCL § 272.

                       108.   The 215 Acquisition Transfers were made while Acquisition was insolvent

within the meaning of Former DCL § 273.

                       109.   Acquisition was engaged in a business for which the property remaining in

its hands after the 215 Acquisition was an unreasonably small capital within the meaning of

Former DCL § 274.

                       110.   Pursuant to 11 U.S.C. § 544(b)(1), the Trustee is entitled to judgment

avoiding the 215 Acquisition Transfers for the benefit of the creditors of the Acquisition’s estate.

                       111.   215 Acquisition is an initial transferee of the 215 Acquisition Transfers.

                       112.   Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment di-

recting payment from 215 Acquisition to the Trustee for the value of the 215 Acquisition Trans-

fers to which the Acquisition is entitled.

                                   NINTH CAUSE OF ACTION
                  (Avoidance of 215 Acquisition Transfers as Preferential Transfers
                                  Pursuant to 11 U.S.C. § 547(b))

                       113.   Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       114.   During the year prior to the filing of the petition, Acquisition made the

215 Acquisition Transfer to 215 Acquisition.

                       115.   Upon information and belief, 215 Acquisition is an insider within the

meaning of 11 U.S.C. § 547(b)(4)(B).

                       116.   The 215 Acquisition Transfers was made to or for the benefit of 215 Ac-

quisition.



                                                        18
4872-5983-1900, v. 3
 23-07016-shl             Doc 1    Filed 04/13/23 Entered 04/13/23 09:58:52             Main Document
                                                Pg 19 of 36



                       117.   The 215 Acquisition Transfers enabled 215 Acquisition to receive more in

satisfaction of any claim it may have had against Acquisition than it would have received in a

case under chapter 7 of the Bankruptcy Code had the payment not been made.

                       118.   To the extent the Court finds that the 215 Acquisition Transfers were

made on account of an antecedent debt owed by Acquisition before the 215 Acquisition Trans-

fers were made and that 215 Acquisition was a creditor, the Trustee is entitled to an order and

judgment under section 11 U.S.C. § 547(b) avoiding the 215 Acquisition Transfers that occurred

within 1 year of the filing of the petition.

                       119.   Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment di-

recting return of the 215 Acquisition Transfers from 215 Acquisition, to the extent they are

avoided pursuant to 11 U.S.C § 247(b).

                             TENTH CAUSE OF ACTION
   (Avoidance of Development-Northside Transfers as Constructive Fraudulent Transfers
                          Pursuant to 11 U.S.C. § 548(a)(1)(B))

                       120.   Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       121.   Development did not receive reasonably equivalent value in exchange for

the Development-Northside Transfers within the meaning of 11 U.S.C. § 548(a)(1)(B)(i).

                       122.   Development was engaged in was engaged in business, or was about to

engage in business, for which it had an unreasonably small capital after the Development-

Northside Transfers within the meaning of 11 U.S.C. § 548(a)(1)(B)(ii)(II).

                       123.   Pursuant to 11 U.S.C. § 548(a)(1)(B), the Trustee is entitled to judgment

avoiding the Development-Northside Transfers that occurred within 2 years of the filing of the

petition for the benefit of the creditors of the Development’s estate.



                                                        19
4872-5983-1900, v. 3
 23-07016-shl             Doc 1    Filed 04/13/23 Entered 04/13/23 09:58:52             Main Document
                                                Pg 20 of 36



                       124.   Northside is an initial transferee of the Development-Northside Transfers.

Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment directing return of the De-

velopment-Northside Transfers from Northside.

                           ELEVENTH CAUSE OF ACTION
   (Avoidance of Development-Northside Transfers as Constructive Fraudulent Transfers
            Pursuant to 11 U.S.C. § 544(b)(1) and Former DCL §§ 273-74, 278)

                       125.   Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       126.   Upon information and belief, the Development-Northside Transfers were

without fair consideration in return within the meaning of Former DCL § 272.

                       127.   Development was engaged in a business for which the property remaining

in its hands after the Development-Northside Transfers was an unreasonably small capital within

the meaning of Former DCL § 274.

                       128.   Pursuant to 11 U.S.C. § 544(b)(1), the Trustee is entitled to judgment

avoiding the Development-Northside Transfers for the benefit of the creditors of the Develop-

ment’s estate.

                       129.   Northside is an initial transferee of the Development-Northside Transfers.

                       130.   Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment di-

recting the return of the Development-Northside Transfers to Development.

                            TWELFTH CAUSE OF ACTION
 (Avoidance of 215 Acquisition-Development Transfer as Constructive Fraudulent Trans-
          fers Pursuant to 11 U.S.C. § 544(b)(1) and Former DCL §§ 273, 278)

                       131.   Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       132.   Upon information and belief, the 215 Acquisition-Development Transfer

were without fair consideration in return within the meaning of Former DCL § 272.

                                                        20
4872-5983-1900, v. 3
 23-07016-shl             Doc 1    Filed 04/13/23 Entered 04/13/23 09:58:52             Main Document
                                                Pg 21 of 36



                       133.   Development was engaged in a business for which the property remaining

in its hands after the 215 Acquisition-Development Transfer was an unreasonably small capital

within the meaning of Former DCL § 274.

                       134.   Pursuant to 11 U.S.C. § 544(b)(1), the Trustee is entitled to judgment

avoiding the 215 Acquisition-Development Transfer for the benefit of the creditors of Develop-

ment’s estate.

                       135.   215 Acquisition is an initial transferee of the 215 Acquisition-

Development Transfer.

                       136.   Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment di-

recting payment from 215 Acquisition to the Trustee for the value of the 215 Acquisition-

Development Transfer to which Development is entitled.

                        THIRTEENTH CAUSE OF ACTION
 (Avoidance of Doe Account Holder 7255 Transfers as Constructive Fraudulent Transfers
                         Pursuant to 11 U.S.C. § 548(a)(1)(B))

                       137.   Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       138.   Development did not receive reasonably equivalent value in exchange for

the Doe Account Holder 7255 Transfers within the meaning of 11 U.S.C. § 548(a)(1)(B)(i).

                       139.   Development was engaged in was engaged in business, or was about to

engage in business, for which it had an unreasonably small capital after the Doe Account Holder

7255 Transfers within the meaning of 11 U.S.C. § 548(a)(1)(B)(ii)(II).

                       140.   Pursuant to 11 U.S.C. § 548(a)(1)(B), the Trustee is entitled to judgment

avoiding the Doe Account Holder 7255 Transfers that occurred within 2 years of the filing of the

petition for the benefit of the creditors of Development’s estate.



                                                        21
4872-5983-1900, v. 3
 23-07016-shl             Doc 1    Filed 04/13/23 Entered 04/13/23 09:58:52             Main Document
                                                Pg 22 of 36



                       141.   Northside is an initial transferee of the Doe Account Holder 7255 Trans-

fers.

                       142.   Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment di-

recting return of the Doe Account Holder 7255 Transfers from Doe Account Holder 7255.

                         FOURTEENTH CAUSE OF ACTION
 (Avoidance of Doe Account Holder 7255 Transfers as Constructive Fraudulent Transfers
             Pursuant to 11 U.S.C. § 544(b)(1) and Former DCL §§ 273, 278)

                       143.   Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.

                       144.   Upon information and belief, the Doe Account Holder 7255 Transfers

were without fair consideration in return within the meaning of Former DCL § 272.

                       145.   Development was engaged in a business for which the property remaining

in its hands after the Doe Account Holder 7255 Transfers was an unreasonably small capital

within the meaning of Former DCL § 274.

                       146.   Pursuant to 11 U.S.C. § 544(b)(1), the Trustee is entitled to judgment

avoiding the Doe Account Holder 7255 Transfers for the benefit of the creditors of the Devel-

opment’s estate.

                       147.   Doe is an initial transferee of the 215 Acquisition-Development Transfer.

                       148.   Pursuant to 11 U.S.C. § 550(a)(1), the Trustee is entitled to judgment di-

recting payment from Doe to the Trustee for the value of the Doe Account Holder 7255 Trans-

fers to which Development is entitled.

                                     FIFTEENTH CAUSE OF ACTION
                                          (Unjust Enrichment)

                       149.   Plaintiff incorporates each of the foregoing paragraphs as if fully set forth

herein.


                                                        22
4872-5983-1900, v. 3
 23-07016-shl             Doc 1     Filed 04/13/23 Entered 04/13/23 09:58:52            Main Document
                                                 Pg 23 of 36



                       150.   Unjust enrichment exists when (1) a defendant benefits; (2) at another par-

ty’s expense; and (3) equity and good conscience require restitution.

                       151.   The benefits that the Defendants received from the Debtors had a value for

which the Defendants did not properly compensate the Debtors.

                       152.   Upon information and belief, in contrast, each Defendant unfairly benefit-

ted from the transfers raised in the previous causes of action (the “Transfers”) and have been un-

justly enriched.

                       153.   The Debtors did not receive any, or adequate, consideration in exchange

for the Transfers.

                       154.   As a result of the foregoing, the Defendants are liable to the Trustee for

the damages caused by the Transfers in an amount to be determined at trial.

                       WHEREFORE, the Trustee requests the entry of judgment as follows:

                              (a)    On the first cause of action, avoiding the ER 215 Moore Transfers
                                     pursuant to 11 U.S.C. § 548(a)(1)(B), and directing return of the
                                     ER 215 Moore Transfers from ER 215 Moore;

                              (b)    On the second cause of action, avoiding ER 215 Moore Transfers
                                     not avoided under paragraph (a) pursuant to 11 U.S.C. § 544(b)(1),
                                     and directing return of those transfers from ER 215 Moore;

                              (c)    On the third cause of action, avoiding the ER 215 Moore Transfers
                                     not avoided under paragraphs (a) and (b) pursuant to 11 U.S.C.
                                     § 547(b), and directing return of those transfers from ER 215
                                     Moore to extent avoided under 11 U.S.C. § 547(b);

                              (d)    On the fourth cause of action, avoiding the Acquisition-Northside
                                     Transfers pursuant to 11 U.S.C. § 548(a)(1)(B), and directing re-
                                     turn of the Acquisition-Northside Transfers from Northside;

                              (e)    On the fifth cause of action, avoiding the Acquisition-Northside
                                     Transfers not avoided under paragraph (d) pursuant to 11 U.S.C.
                                     § 544(b)(1), and directing return of those transfers from Northside;

                              (f)    On the sixth cause of action, avoiding the Acquisition-Northside
                                     Transfers not avoided under paragraphs (d) and (e) pursuant to 11

                                                       23
4872-5983-1900, v. 3
 23-07016-shl          Doc 1    Filed 04/13/23 Entered 04/13/23 09:58:52           Main Document
                                             Pg 24 of 36



                                 U.S.C. § 547(b), and directing return of those transfers from
                                 Northside to extent avoided under 11 U.S.C. § 547(b);

                          (g)    On the seventh cause of action, avoiding the 215 Acquisition
                                 Transfers pursuant to 11 U.S.C. § 548(a)(1)(B), and directing re-
                                 turn of the 215 Acquisition Transfers from 215 Acquisition;

                          (h)    On the eighth cause of action, avoiding the 215 Acquisition Trans-
                                 fers not avoided under paragraph (g) pursuant to 11 U.S.C.
                                 § 544(b)(1), and directing return of the those transfers from 215
                                 Acquisition;

                          (i)    On the ninth cause of action, avoiding the 215 Acquisition Trans-
                                 fers not avoided under paragraphs (g) and (h) that occurred within
                                 1 year of the filing of the petition pursuant to 11 U.S.C. § 547(b),
                                 and directing return of those transfers from 215 Acquisition to ex-
                                 tent avoided under 11 U.S.C. § 547(b);

                          (j)    On the tenth cause of action, avoiding the Development-Northside
                                 Transfers that occurred within 2 years of the filing of the petition
                                 pursuant to 11 U.S.C. § 548(a)(1)(B), and directing return of the
                                 those transfers from Development;

                          (k)    On the eleventh cause of action, avoiding the Development-
                                 Northside Transfers not avoided under paragraph (j) pursuant to 11
                                 U.S.C. § 544(b)(1), and directing return of those transfers from
                                 Northside;

                          (l)    On the twelfth cause of action, avoiding the 215 Acquisition-
                                 Development Transfer pursuant to 11 U.S.C. § 544(b)(1), and di-
                                 recting return of the 215 Acquisition-Development Transfer from
                                 215 Acquisition;

                          (m)    On the thirteen cause of action, avoiding the Doe Account Holder
                                 7255 Transfers that occurred within 2 years of the filing of the pe-
                                 tition pursuant to 11 U.S.C. § 548(a)(1)(B), and directing return of
                                 those transfers from Doe Account Holder 7255;

                          (n)    On the fourteenth cause of action avoiding the Doe Account Hold-
                                 er 7255 Transfers not avoided under paragraph (m) pursuant to 11
                                 U.S.C. § 544(b)(1), and directing return of those transfers from
                                 Doe;

                          (o)    On the fifteenth cause of action, directing payment to the Trustee
                                 in an amount to be determined at trial;

                          (p)    Costs and attorney fees; and


                                                  24
4872-5983-1900, v. 3
 23-07016-shl          Doc 1    Filed 04/13/23 Entered 04/13/23 09:58:52          Main Document
                                             Pg 25 of 36



                          (q)    Such other and further relief as is necessary and proper.


Dated: New York, New York                       R3M LAW, LLP
       April 13, 2023                           Attorneys for the Trustee
                                                By:

                                                /s/ Howard P. Magaliff
                                                HOWARD P. MAGALIFF
                                                335 Madison Avenue, 9th Floor
                                                New York, NY 10017
                                                646.453.7851
                                                hmagaliff@r3mlaw.com




                                                  25
4872-5983-1900, v. 3
23-07016-shl   Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52   Main Document
                                    Pg 26 of 36



                                   EXHIBIT 1
      23-07016-shl           Doc 1       Filed 04/13/23 Entered 04/13/23 09:58:52   Main Document
                                                      Pg 27 of 36


                            232 Seigel Development LLC
                  Transfers to Northside Acquisition Partners LLC


Transaction Date                      Payee                         Amount
    9/16/2016    Northside Acquisition Partners LLC                   (1,683.00)
   10/17/2016    Northside Acquisition Partners LLC                   (2,000.00)
   10/28/2016    Northside Acquisition Partners LLC                   (1,166.00)
   11/23/2016    Northside Acquisition Partners LLC                     (325.00)
   11/23/2016    Northside Acquisition Partners LLC                   (1,500.00)
   11/25/2016    Northside Acquisition Partners LLC                   (1,386.00)
    12/1/2016    Northside Acquisition Partners LLC                   (1,041.67)
    12/5/2016    Northside Acquisition Partners LLC                     (650.00)
    12/8/2016    Northside Acquisition Partners LLC                   (2,050.00)
    12/9/2016    Northside Acquisition Partners LLC                   (1,400.00)
    12/9/2016    Northside Acquisition Partners LLC                   (1,958.00)
    12/9/2016    Northside Acquisition Partners LLC                   (5,000.00)
   12/14/2016    Northside Acquisition Partners LLC                   (1,120.00)
   12/15/2016    Northside Acquisition Partners LLC                  (15,000.00)
   12/16/2016    Northside Acquisition Partners LLC                     (650.00)
   12/22/2016    Northside Acquisition Partners LLC                   (2,000.00)
   12/22/2016    Northside Acquisition Partners LLC                  (13,380.77)
   12/27/2016    Northside Acquisition Partners LLC                   (3,500.00)
    1/5/2017     Northside Acquisition Partners LLC                   (2,083.34)
    1/6/2017     Northside Acquisition Partners LLC                   (2,073.50)
    1/12/2017    Northside Acquisition Partners LLC                   (5,000.00)
    2/8/2017     Northside Acquisition Partners LLC                   (1,388.89)
    2/22/2017    Northside Acquisition Partners LLC                   (2,000.00)
    3/2/2017     Northside Acquisition Partners LLC                   (1,120.00)
    3/2/2017     Northside Acquisition Partners LLC                   (1,388.89)
    3/9/2017     Northside Acquisition Partners LLC                   (1,000.00)
    3/17/2017    Northside Acquisition Partners LLC                     (560.00)
    3/17/2017    Northside Acquisition Partners LLC                   (2,000.00)
    4/5/2017     Northside Acquisition Partners LLC                   (1,388.89)
    4/28/2017    Northside Acquisition Partners LLC                  (25,800.00)
    5/4/2017     Northside Acquisition Partners LLC                   (1,000.00)
    5/9/2017     Northside Acquisition Partners LLC                  (20,000.00)
    5/15/2017    Northside Acquisition Partners LLC                   (1,120.00)
    5/17/2017    Northside Acquisition Partners LLC                   (2,000.00)
    5/22/2017    Northside Acquisition Partners LLC                     (650.00)
    6/2/2017     Northside Acquisition Partners LLC                  (84,000.00)
    6/6/2017     Northside Acquisition Partners LLC                   (1,000.00)
    6/20/2017    Northside Acquisition Partners LLC                   (2,500.00)
    6/29/2017    Northside Acquisition Partners LLC                  (10,000.00)
    1/11/2018    Northside Acquisition Partners LLC                   (1,234.94)
   12/20/2018    Northside Acquisition Partners LLC                  (15,000.00)
   12/20/2018    Northside Acquisition Partners LLC                  (19,950.00)
   12/20/2018    Northside Acquisition Partners LLC                  (43,000.00)
   12/21/2018    Northside Acquisition Partners LLC                   (7,500.00)
   12/28/2018    Northside Acquisition Partners LLC                  (12,000.00)
   12/28/2018    Northside Acquisition Partners LLC                  (30,000.00)
    1/3/2019     Northside Acquisition Partners LLC                  (47,000.00)
                                                                    (399,568.89)




                 Transfers within 2 years of the Petition Date      (174,450.00)
                 Transfers within 6 years of the Petition Date      (399,568.89)
23-07016-shl   Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52   Main Document
                                    Pg 28 of 36



                                   EXHIBIT 2
   23-07016-shl       Doc 1      Filed 04/13/23 Entered 04/13/23 09:58:52         Main Document
                                              Pg 29 of 36

                            232 Seigel Development LLC
                    Transfers to Checking Account Ending in 7255


Transaction
    Date                            Payor/Payee                    Amount
11/23/2016    Online Transfer to CHK xxxx7255                        (4,140.38)
 12/5/2016    Online Transfer to CHK xxxx7255                          (244.50)
 12/8/2016    Online Transfer to CHK xxxx7255                       (10,800.00)
12/14/2016    Online Transfer to CHK xxxx7255                          (100.00)
12/22/2016    Online Transfer to CHK xxxx7255                       (16,400.00)
12/23/2016    Online Transfer to CHK xxxx7255                          (366.75)
  1/3/2017    Online Transfer to CHK xxxx7255                        (2,473.47)
  1/3/2017    Online Transfer to CHK xxxx7255                          (244.50)
  1/5/2017    Online Transfer to CHK xxxx7255                        (8,300.00)
  1/5/2017    Online Transfer to CHK xxxx7255                        (9,900.00)
 1/19/2017    Online Transfer to CHK xxxx7255                       (18,400.00)
  2/2/2017    Online Transfer to CHK xxxx7255                       (18,000.00)
  2/3/2017    Online Transfer to CHK xxxx7255                          (250.00)
 2/15/2017    Online Transfer to CHK xxxx7255                          (350.00)
 2/16/2017    Online Transfer to CHK xxxx7255                        (7,900.00)
 2/16/2017    Online Transfer to CHK xxxx7255                        (9,800.00)
 2/28/2017    Online Transfer to CHK xxxx7255                          (650.00)
  3/2/2017    Online Transfer to CHK xxxx7255                        (7,800.00)
  3/2/2017    Online Transfer to CHK xxxx7255                        (9,800.00)
  3/3/2017    Online Transfer to CHK xxxx7255                          (500.00)
 3/13/2017    Online Transfer to CHK xxxx7255                          (850.00)
 3/16/2017    Online Transfer to CHK xxxx7255                       (17,200.00)
 3/30/2017    Online Transfer to CHK xxxx7255                       (17,000.00)
  4/7/2017    Online Transfer to CHK xxxx7255                        (1,300.00)
 4/20/2017    Online Transfer to CHK xxxx7255                       (17,325.00)
 4/27/2017    Online Transfer to CHK xxxx7255                       (17,500.00)
 5/11/2017    Online Transfer to CHK xxxx7255                       (17,700.00)
 5/24/2017    Online Transfer to CHK xxxx7255                          (250.00)
 5/25/2017    Online Transfer to CHK xxxx7255                       (14,768.03)
  6/8/2017    Online Transfer to CHK xxxx7255                       (15,173.74)
 6/22/2017    Online Transfer to CHK xxxx7255                       (15,300.00)
 6/23/2017    Online Transfer to CHK xxxx7255                        (1,250.00)
  7/6/2017    Online Transfer to CHK xxxx7255                       (15,995.64)
 1/11/2018    Online Transfer to CHK xxxx7255                        (1,500.00)
 12/7/2018    Online Transfer to CHK xxxx7255                          (300.00)
 12/7/2018    Online Transfer to CHK xxxx7255                          (250.00)
                                                                   (280,082.01)




              Transfers within 2 years of the Petition Date            (550.00)
              Transfers within 6 years of the Petition Date        (280,082.01)
23-07016-shl   Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52   Main Document
                                    Pg 30 of 36



                                   EXHIBIT 3
  23-07016-shl    Doc 1    Filed 04/13/23 Entered 04/13/23 09:58:52          Main Document
                                        Pg 31 of 36


                      232 Seigel Development LLC
                     Transfers to ER 215 Moore LLC

Transaction
   Date                           Payee                       Amount
10/11/2019    ER 215 Moore LLC                                 (50,000.00)
10/16/2019    ER 215 Moore LLC                                 (50,000.00)
                                                              (100,000.00)


              Transfers within 1 year of the Petition Date    (100,000.00)
              Transfers within 2 years of the Petition Date   (100,000.00)
              Transfers within 6 years of the Petition Date   (100,000.00)
23-07016-shl   Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52   Main Document
                                    Pg 32 of 36



                                   EXHIBIT 4
      23-07016-shl           Doc 1       Filed 04/13/23 Entered 04/13/23 09:58:52    Main Document
                                                      Pg 33 of 36

                             232 Seigel Acquisition LLC
                  Transfers to Northside Acquisition Partners LLC


Transaction Date                      Payee                          Amount
   12/19/2019    Northside Acquisition Partners LLC                       (250.00)
   2/27/2020     Northside Acquisition Partners LLC                   (100,000.00)
    2/27/2020    Northside Acquisition Partners LLC                    (26,900.00)
    2/27/2020    Northside Acquisition Partners LLC                     (4,900.00)
    2/27/2020    Northside Acquisition Partners LLC                     (8,300.00)
    2/27/2020    Northside Acquisition Partners LLC                    (13,350.00)
    2/27/2020    Northside Acquisition Partners LLC                     (7,050.00)
    2/27/2020    Northside Acquisition Partners LLC                     (5,900.00)
    2/27/2020    Northside Acquisition Partners LLC                   (200,000.00)
    2/27/2020    Northside Acquisition Partners LLC                    (50,000.00)
    2/27/2020    Northside Acquisition Partners LLC                    (36,000.00)
    2/27/2020    Northside Acquisition Partners LLC                    (20,000.00)
    2/27/2020    Northside Acquisition Partners LLC                 (1,000,000.00)
    2/28/2020    Northside Acquisition Partners LLC                     (6,000.00)
    2/28/2020    Northside Acquisition Partners LLC                    (10,000.00)
    2/28/2020    Northside Acquisition Partners LLC                     (3,850.00)
     3/2/2020    Northside Acquisition Partners LLC                     (5,000.00)
     3/2/2020    Northside Acquisition Partners LLC                    (20,000.00)
     3/3/2020    Northside Acquisition Partners LLC                     (5,000.00)
     3/3/2020    Northside Acquisition Partners LLC                       (450.00)
     3/3/2020    Northside Acquisition Partners LLC                     (5,000.00)
     3/3/2020    Northside Acquisition Partners LLC                     (1,000.00)
     3/4/2020    Northside Acquisition Partners LLC                     (5,000.00)
     3/4/2020    Northside Acquisition Partners LLC                    (10,000.00)
     3/4/2020    Northside Acquisition Partners LLC                    (17,740.00)
     3/5/2020    Northside Acquisition Partners LLC                     (2,500.00)
     3/5/2020    Northside Acquisition Partners LLC                     (5,000.00)
     3/5/2020    Northside Acquisition Partners LLC                     (3,000.00)
     3/5/2020    Northside Acquisition Partners LLC                    (10,000.00)
     3/5/2020    Northside Acquisition Partners LLC                     (5,000.00)
     3/6/2020    Northside Acquisition Partners LLC                     (3,000.00)
     3/6/2020    Northside Acquisition Partners LLC                     (5,000.00)
    3/26/2020    Northside Acquisition Partners LLC                    (16,500.00)
    3/26/2020    Northside Acquisition Partners LLC                     (1,475.00)
    3/26/2020    Northside Acquisition Partners LLC                     (5,250.00)
    3/26/2020    Northside Acquisition Partners LLC                     (5,280.00)
    3/26/2020    Northside Acquisition Partners LLC                     (4,500.00)
    3/26/2020    Northside Acquisition Partners LLC                    (38,000.00)
    3/27/2020    Northside Acquisition Partners LLC                     (3,750.00)
    3/27/2020    Northside Acquisition Partners LLC                     (2,500.00)
    3/27/2020    Northside Acquisition Partners LLC                    (15,000.00)
    3/27/2020    Northside Acquisition Partners LLC                    (10,000.00)
    3/30/2020    Northside Acquisition Partners LLC                     (2,076.92)
    3/31/2020    Northside Acquisition Partners LLC                    (20,000.00)
     4/1/2020    Northside Acquisition Partners LLC                    (12,000.00)
     4/2/2020    Northside Acquisition Partners LLC                     (1,170.00)
     4/2/2020    Northside Acquisition Partners LLC                     (1,215.00)
     4/2/2020    Northside Acquisition Partners LLC                     (2,000.00)
     4/3/2020    Northside Acquisition Partners LLC                     (5,000.00)
     4/3/2020    Northside Acquisition Partners LLC                     (6,000.00)
     4/3/2020    Northside Acquisition Partners LLC                     (4,359.29)
     4/3/2020    Northside Acquisition Partners LLC                    (14,600.00)
    4/3/2020     Northside Acquisition Partners LLC                     (1,350.00)
    4/3/2020     Northside Acquisition Partners LLC                     (5,150.00)
    4/3/2020     Northside Acquisition Partners LLC                     (5,300.00)
    4/3/2020     Northside Acquisition Partners LLC                     (1,000.00)
  23-07016-shl         Doc 1        Filed 04/13/23 Entered 04/13/23 09:58:52   Main Document
                                                 Pg 34 of 36

4/3/2020    Northside Acquisition Partners LLC                  (2,000.00)
4/6/2020    Northside Acquisition Partners LLC                 (15,000.00)
4/7/2020    Northside Acquisition Partners LLC                    (432.69)
4/7/2020    Northside Acquisition Partners LLC                    (432.69)
4/7/2020    Northside Acquisition Partners LLC                  (5,000.00)
4/7/2020    Northside Acquisition Partners LLC                  (2,850.00)
4/8/2020    Northside Acquisition Partners LLC                  (3,000.00)
4/8/2020    Northside Acquisition Partners LLC                 (17,523.29)
4/14/2020   Northside Acquisition Partners LLC                  (1,500.00)
4/14/2020   Northside Acquisition Partners LLC                    (500.00)
4/14/2020   Northside Acquisition Partners LLC                  (2,000.00)
4/14/2020   Northside Acquisition Partners LLC                 (17,000.00)
4/17/2020   Northside Acquisition Partners LLC                    (500.00)
4/17/2020   Northside Acquisition Partners LLC                  (4,000.00)
5/6/2020    Northside Acquisition Partners LLC                  (5,000.00)
                                                            (1,855,404.88)


            Transfers within 1 year of the Petition Date    (1,855,404.88)
            Transfers within 2 years of the Petition Date   (1,855,404.88)
            Transfers within 6 years of the Petition Date   (1,855,404.88)
23-07016-shl   Doc 1   Filed 04/13/23 Entered 04/13/23 09:58:52   Main Document
                                    Pg 35 of 36



                                   EXHIBIT 5
    23-07016-shl        Doc 1      Filed 04/13/23 Entered 04/13/23 09:58:52       Main Document
                                                Pg 36 of 36


                             232 Seigel Acquisition LLC
                      Transfers to 215 Moore St Acquisition LLC

Transaction
   Date                            Payee                          Amount
 8/22/2018 215 Moore St Acquisition LLC                                (820.00)
 4/1/2020 215 Moore St Acquisition LLC                              (17,110.00)
 4/1/2020 215 Moore St Acquisition LLC                                 (100.00)
                                                                    (18,030.00)


            Transfers within 1 year of the Petition Date            (17,210.00)
            Transfers within 2 years of the Petition Date           (18,030.00)
            Transfers within 6 years of the Petition Date           (18,030.00)
